927 F.2d 597Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Luis Mellan FONSECA, a/k/a Ricarda Avida Mosqueda,Defendant-Appellant.
    No. 90-6161.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 4, 1991.Decided Feb. 25, 1991.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  William M. Kidd, Senior District Judge.  (CR-88-179-K;  CA-90-72-E-K)
      Luis Mellan Fonseca, appellant pro se.
      William Anthony Kolibash, United States Attorney, John H. Reed, Assistant United States Attorney, Elkins, W.Va., for appellee.
      N.D.W.Va.
      AFFIRMED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Luis Mellan Fonseca appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Fonseca, CR-88-179-K;  CA-90-72-E-K (N.D.W.Va. Sept. 27, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    